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      Plaintiff Jessica Sauer                 individually and on behalf of a class of

similarly situated individuals, brings this action for damages and injunctive relief

under the antitrust laws of the United States and the laws of the Commonwealth of

Pennsylvania against



I.    SUMMARY OF THE ACTION
      1.       This class action challenges an illegal agreement between two

competitors, Geisinger and Evangelical, not to recruit

physicians, nurses, psychologists, therapists, and other healthcare professionals

               Workers    (the            Agreement

      2.       The No-Poach Agreement covered                               Workers

in a region in central Pennsylvania that includes Union, Snyder, Northumberland,

Montour, Lycoming, and Columbia counties, and the cities of Danville and

Lewisburg, where Geisinger Medical Center and Evangelical are headquartered,

respectively                            The following map depicts the relevant

Central Pennsylvania geographic region:




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Source: Complaint ¶ 47, United States v. Geisinger Health, et al., No. 4:20-cv-

01383-MWB, ECF No. 1 (M.D. Pa. Aug. 5, 2020)

      3.    This No-Poach Agreement was intended to, and did, reduce

competition for Healthcare Workers in Central Pennsylvania and, as a result,

suppressed the job mobility and wages of Plaintiff and the members of the

proposed Class (defined below) below the levels that would have prevailed but for

the illegal No-Poach Agreement.




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      4.      The Department of Justice               recently issued the following

guidance about the anticompetitive effects of no-poach agreements like the one at

                           companies agree not to hire



             of labor market competition deprives them of job opportunities,

information, and the ability to use competing offers to negotiate better terms of

employment. Under the antitrust laws, the same rules apply when employers

compete for talent in labor markets as when they compete to sell goods and

services.

      5.      Geisinger and Evangelical reached their unlawful horizontal

agreement at the highest levels of their organizations, through secretive verbal

exchanges that were later confirmed by emails, which they agreed to conceal from

outsiders, their respective employees who make up the proposed Class, and the

public.                                          executives periodically reaffirmed,

monitored, and policed the No-Poach Agreement.

      6.      The No-Poach Agreement began by May 2015, likely existed earlier

than May 2015, and continued until at least August 5, 2020, when the DOJ brought




1
 See No-Poach                                                   30, 2019),
https://www.justice.gov/atr/division-operations/division-update-spring-2019/no-
poach-approach (last visited Feb. 12, 2021).


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a civil antitrust action

DOJ Compl.

       7.     The DOJ Complaint alleges that                          partial

acquisition of Evangelical would fundamentally reduce competition for healthcare

services and raise the likelihood of continued unlawful coordination between

Defendants. Id. ¶ 6. The DOJ complaint alleges a history of collusion between

Defendants          Geisinger and Evangelical have a                       and

                                                           that               senior

executives entered into the No-Poach Agreement that is the focus of this case. Id.

¶¶ 40-42.

       8.     Geisinger and Evangelical took affirmative steps to conceal their

unlawful No-Poach Agreement from Plaintiff, the Class, and the general public.

For example, at one time during the class period,                        advertised:

                                                 a competitive salary and a

comprehensive benefits package, including health insurance, compensated vacation

time and holidays, a 401(k) plan and more.                             competitive

compensation and benefits package helps you and your loved ones stay healthy,

meet your financial goals and thrive professionally and personally.     Similarly,

                                              competitive salary with bonus dollars

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(last visited Feb. 12, 2021).

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available   Defendants did not disclose on their respective websites (or anywhere

else) that they had an agreement not to compete f

                                                                  not competing with

each of their main sources for labor            each other        thus were able to

pay less-than-competitive wages to their Healthcare Workers.

      9.     Geisinger and Evangelical

    unlawful No-Poach Agreement and communicated regarding deviations from it

in order to enforce compliance. For instance, after learning that Geisinger

potentially took actions contrary to the No-Poach Agreement by recruiting

Evangelical nurses through Facebook, Evangelical             wrote to her counterpart

at Geisinger, asking

    trying to accompli     DOJ Compl. ¶ 42. Upon receiving this message, the



Acquisition, instru



      10.    The No-Poach Agreement was made and enforced privately,

confidentially, and at the highest levels of the organizations, and thus, Geisinger

and Evangelical succeeded in concealing the No-Poach Agreement from Plaintiff


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https://www.evanhospital.com/data/uploads/contentblock/Careers-emergency-
medicine.pdf (last visited Feb. 12, 2021).

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and the members of the Class.                                     of a proposed

acquisition between the Defendants, and the resulting publication of the DOJ

Complaint exposing the No-Poach Agreement, the existence of the anticompetitive

No-Poach Agreement might have remained permanently hidden.

        11.   Ultimately, the No-Poach Agreement reduced competition for

Healthcare Workers and, as a result, it reduced Plaintiff job mobility and enabled

Defendants to pay their employees, including members of the Class, less than they

would have been paid absent the No-Poach Agreement. The No-Poach Agreement

is a per se unlawful restraint of trade under the federal antitrust laws, violated

Pennsylvania law, and injured Plaintiff and the members of the Class.

II.     JURISDICTION AND VENUE
        12.   Plaintiff brings this action to recover treble damages, costs of suit, and

reasonable attorne                  from Geisinger                        violations of

Section 1 of the Sherman Act, 15 U.S.C. § 1, and Pennsylvan                 Trade

Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-9.3.

        13.   The Court has subject matter jurisdiction pursuant to Sections 4 and

16 of the Clayton Act, 15 U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331, 1337, and

1367.

        14.   Venue is proper in this judicial district pursuant to Section 12 of the

Clayton Act, 15 U.S.C. § 22, and 28 U.S.C. § 1391(b), (c), and (d) because a



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substantial part of the events giving rise to Plaintiff claims occurred in this

District, a substantial portion of the affected interstate trade and commerce was

carried out in this District, and both Geisinger and Evangelical are headquartered

in this District.

III.   THE PARTIES
       15.    Plaintiff Jessica Sauer is a citizen and resident of the state of

Pennsylvania. Ms. Sauer worked from October 14, 2019 to August 30, 2020 as a

patient access representative (or nursing assistant) at Geisinger Medical Center in

Danville, Pennsylvania. Ms. Sauer was injured in her business or property by

reason of the violation alleged herein.

       16.    Defendant Geisinger is the largest health system in Central

Pennsylvania. It is an integrated healthcare provider of hospital and physician

services headquartered in Danville, Pennsylvania. Geisinger employs

approximately 32,000 employees, including 1,800 physicians and 5,000 nurses.

Geisinger Medical Center, located in Danville, Pennsylvania,

         hospital. It is licensed to accommodate 574 overnight patients. Geisinger

operates three other hospitals in Central Pennsylvania: Geisinger Shamokin,

Geisinger Jersey Shore, and Geisinger Bloomsburg. Geisinger also operates urgent

care centers and other outpatient facilities in Pennsylvania.

       17.    Geisinger has a history of acquiring community hospitals in



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Pennsylvania. Geisinger acquired six hospitals in Pennsylvania from 2012 to 2017.

Three of the four hospitals that Geisinger owns in Central Pennsylvania

              Jersey Shore, and Bloomsburg          formerly independent hospitals

and two of those hospitals were the subject of previous antitrust challenges by the

government.

       18.     Defendant Evangelical is the largest independent community hospital

in Central Pennsylvania and is headquartered in Lewisburg, Pennsylvania.

Evangelical employs approximately 1,800 employees, including approximately

170 physicians and 400 nurses. The hospital is licensed to accommodate 132

overnight patients. Evangelical also owns numerous physician practices in Central

Pennsylvania and operates an urgent care center and several other outpatient

facilities.

       19.     Defendants acted as the principals of or agents for the unnamed co-

conspirators with respect to the acts, violations, and common course of conduct

alleged herein.

       20.     Various persons, partnerships, sole proprietors, firms, corporations

and individuals not named as defendants in this lawsuit, the identities of which are

presently unknown, have participated as co-conspirators with Defendants in the

offenses alleged in this Complaint and have performed acts and made statements in

furtherance of the No-Poach Agreement and other anticompetitive conduct.


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       21.   When this Complaint refers to any act, deed or transaction of any

corporation or limited liability entity, the allegation means that the corporation or

limited liability entity acted by or through its officers, directors, agents, employees

or representatives while they were actively engaged in the management, direction,

or

IV.    FACTUAL ALLEGATIONS

       A.    Trade and Commerce
       22.   During the Class Period (defined below), Geisinger and Evangelical

employed members of the proposed Class in Pennsylvania, including in this

District.

       23.   The No-Poach Agreement has substantially affected interstate

commerce throughout Pennsylvania and the United States and has caused antitrust

injury throughout Pennsylvania and the United States.

       B.    Geisinger and Evangelical Dominate Healthcare Services in
             Central Pennsylvania
       24.   Geisinger is the largest health system in Central Pennsylvania, and

Evangelical is the largest independent community hospital in Central

Pennsylvania. No other company offers the scope of services and resources that

Geisinger and Evangelical provide in Central Pennsylvania, and Defendants are the

dominant employers of Healthcare Workers in Central Pennsylvania.




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      25.    For example, Geisinger and Evangelical both provide inpatient,

general acute care services to patients in Central Pennsylvania. Geisinger accounts

for approximately 55 percent and Evangelical accounts for approximately 17

percent of inpatient general acute-care services provided in Central Pennsylvania

for a total of 72 percent of that market. Def                    market shares for

many healthcare services are consistent with their market share for inpatient

general acute care services.

      26.                                                            healthcare

services in Central Pennsylvania, Defendants are also the dominant employers of

Healthcare Workers in Central Pennsylvania. Together, during the proposed Class

Period, Defendants have employed approximately 70 to 75 percent of hospital

Healthcare Workers in Central Pennsylvania. Defendants have also employed a

dominant share of non-hospital Healthcare Workers in Central Pennsylvania.

      27.    Geisinger and Evangelical both offer a wide range of medical care and

support to patients across a range of specialties, including orthopedics, w

       surgical care, diabetes care, pain medicine, physical therapy, and primary

care, among other areas. Indeed, Geisinger and Evangelical are aware that they

compete to attract patients.                                      the same people

and populations[,] according to a Geisinger Health Plan executive. DOJ Compl. ¶

18.                                        Evangelical], you get it there [at


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Geisinger][,]                                                   Id. ¶ 1.

      28.    The competition between Geisinger and Evangelical to attract patients

is reflected in their capital investment plans. The competition affects the capital

investments each decides to make when engaging in business planning. When

                                     her recommendation of construction of a new

orthopedic facility to E              board of directors in 2016, for example, she

explained tha

                    Compl. ¶ 19. Similarly, Geisinger cited

            activities in considering capital expenditures for certain facility

improvements in 2018. Id.

      29.    Because Geisinger and Evangelical are direct competitors in the

provision of healthcare services in Central Pennsylvania, they would also

ordinarily compete directly for the employment of Healthcare Workers. One

important respect in which Defendants would have competed with each other



                           as providers of healthcare to patients in Central

Pennsylvania, Defendants are also the dominant employers of Healthcare Workers

in Central Pennsylvania.

      30.    Consequently, for those Healthcare Workers looking to work in

healthcare in Central Pennsylvania, Geisinger and Evangelical are the largest and


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most important employers. Because Geisinger and Evangelical would vigorously

compete for each other                                                 Agreement,

such competition would enhance more widespread discovery of salary information,

increase job mobility and, as a result, increase the pay for all of

            Workers. Consequently, the reduction in competition through the No-

Poach Agreement has broadly injured Plaintiffs and members of the Class.

      C.     The Market for the Services of Healthcare Workers in Central
             Pennsylvania
      31.    The No-Poach Agreement is per se illegal under the federal antitrust

laws, and thus, there is no requirement to define the relevant product or geographic

markets. As the DOJ made clear in guidance it issued                      wage-fixing

or no-poaching agreements among employers, whether entered into directly or

through a third-party intermediary, are per se illegal under the antitrust laws.   But,

to the extent a relevant market need be defined for any reason, it is for the services

of Healthcare Workers in the Central Pennsylvania region.

      32.    Healthcare Workers have specialized training and knowledge,

including specialized schooling, advanced academic degrees, specialized

occupational skills and knowledge, licensing and certification requirements, and

specialized on-the-job training and experience.

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                           Div. and Fed. Trade            Antitrust Guidance for
Human Resources Professionals, at 3 (Oct. 2016),
https://www.justice.gov/atr/file/903511/download (last visited Feb. 12, 2021).


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      33.    Defendants view Healthcare Workers as possessing important skills

and experience that cannot readily be found in employees in other professional or

occupational fields. One reason that Defendants entered into the illegal No-Poach

Agreement was that retaining these Healthcare Workers would require increasing



         Conversely, limiting a primary source of competition for Healthcare

                   via a No-Poach Agreement allowed Defendants to pay lower

wages to their Healthcare Workers than they would have paid absent the No-Poach

Agreement.

      34.    Because of their specialized training, knowledge, and skills,

Healthcare Workers are extremely valuable to employers in the healthcare

industry. Healthcare Workers would not view jobs in other professions or fields to

be an adequate economic substitute for their jobs as Healthcare Workers. Indeed,

because of the investments in education, certification, licensing, and other

professional requirements and experience, it is expensive and difficult to become a

Healthcare Worker, and Healthcare Workers cannot readily capitalize on those

investments in other industries. Further, healthcare employers do not see

employees from other industries as substitutes for Healthcare Workers.

      35.    Defendants operate the dominant and most prominent healthcare

facilities in Central Pennsylvania, and they are the dominant employers of


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Healthcare Workers in Central Pennsylvania. Additionally, given licensing,

marketing, and professional contacts developed over time, Healthcare Workers

tend to stay within a given geographic area for purposes of career development.

      36.   Consequently, a small but substantial, non-transitory decrease or

stagnation in pay will not cause Healthcare Workers in Central Pennsylvania to

switch jobs outside of the healthcare industry in Central Pennsylvania. Nor would a

small but substantial, non-transitory decrease or stagnation in pay cause Healthcare

Workers in Central Pennsylvania to seek similar jobs outside of Central

Pennsylvania.

      37.   As alleged above, during the Class Period, Defendants collectively

employed a dominant share of Healthcare Workers in Central Pennsylvania and

thus together exercised monopsony power over the market for Healthcare Workers

in Central Pennsylvania during the Class Period.

      D.    Competition for Healthcare Workers in the Absence of a No-
            Poach Agreement
      38.   In a properly functioning and lawfully competitive labor market,

Geisinger and Evangelical would aggressively compete for Healthcare Workers by

recruiting and hiring from each other. Indeed, Geisinger           hospital

(Geisinger Medical Center) and Evangelical are only approximately 17 miles apart.

As a result, but for the No-Poach Agreement, Geisinger and Evangelical would

have been key competitors in the labor market for Healthcare Workers, and


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competition between them would have driven up compensation for Healthcare

Workers.

      39.    Competition for Healthcare Workers through recruiting and lateral

hiring has a significant impact on such workers compensation in several ways.

      40.    First, when healthcare providers become aware of attractive outside

opportunities for their Healthcare Workers, the threat of losing these employees to

a competitor encourages an employer to preemptively increase compensation to

increase morale and competitive positioning and ultimately to retain valuable

labor. If certain healthcare providers do not react to competition, their Healthcare

Workers may be receptive to recruiting by a rival employer or seek positions that

offer more generous compensation and benefits elsewhere.

      41.    Once a Healthcare Worker has received an offer from a rival

employer, retaining that employee may require a disruptive increase in

compensation for one individual. Increasing information and compensation for one

person will have more widespread salary effects across a company and market.

One such mechanism for this widespread effect is salary discovery, in which

information about competing salaries causes higher compensation even among

those employees not actively looking to switch employers. Another such

mechanism is            equity within organizations, where employers endeavor to

maintain parity in pay levels across employees within the same categories as well


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as maintain certain compensation relationships among employees across different

categories.

      42.     In a market untainted by their anticompetitive coordination, Geisinger

and Evangelical would have had an incentive to preempt lateral departures by

paying their Healthcare Workers well enough that they would become less likely to

seek or pursue outside opportunities. Preemptive retention measures would

therefore have led to increased compensation for all Healthcare Workers.

      43.     Second, the availability of desirable positions at competing employers

forces employers to reactively increase compensation to retain Healthcare Workers

who are likely to join a competitor. This can occur both when a particular

Healthcare Worker or group of Healthcare Workers becomes interested in

switching employers and the current employer responds by offering a

compensation increase to retain them, or when an employer responds to overall

attrition rates among its Healthcare Workers by increasing compensation levels. In

the former scenario, even a targeted increase designed to retain specific Healthcare

Workers will put upward pressure on the entire                 compensation

structure.

      44.     The positive compensation effects of hiring Healthcare Workers from

competitors are not limited to the particular individuals who seek new employment

or to the particular individuals who would have pursued new positions but for the


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No-Poach Agreement. Instead, the effects of a restraint in the labor market as a

result of a No-Poach Agreement (and the effects of suppressing recruiting and

hiring pursuant to the No-Poach Agreement) commonly impact all individuals in

positions subject to the restraint.

      45.    Conversely, suppression of competition for cross-hiring and

recruitment serves as a drag on compensation that permeates throughout an

organization. The No-Poach Agreement enabled Geisinger and Evangelical to

target the impact of their coordination on the employees most likely to command

disruptive increases that, through processes of internal equity and salary discovery,

would have led to increases that would have benefited all their employees.

      E.     Geisinger and Evangelical Strategic Management of Their


      46.    Geisinger and Evangelical strategically managed their Healthcare

Workers internal compensation levels to achieve certain objectives, including to:

             (a)    Maximize both internal and external equity;

             (b)    Maintain approximate compensation parity among Healthcare

      Workers within the same practices (e.g., Psychiatry, Hospital Medicine,

      Emergency Medicine, Community Medicine, Nursing) and seniority

      categories (e.g., those with two years or less experience, those with over two

      years of experience);

             (c)    Maintain certain compensation relationships among Healthcare


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         Workers across different categories (for example, among physicians relative

         to nurses or between the Psychiatry and Emergency Medicine practices);

               (d)   Avoid discrimination on the basis of race and gender;

               (e)   Maintain high Healthcare Worker morale and productivity;

               (f)   Retain Healthcare Workers; and

               (g)   Attract new and talented Healthcare Workers.

         47.   To accomplish these objectives, Geisinger and Evangelical set internal

compensation levels for different Healthcare Workers categories that apply to all

such employees within those categories. Defendants also compared compensation

levels across different Healthcare Worker categories to ensure internal equity as

between categories. Geisinger and Evangelical also regularly analyze and update

their Healthcare Worker compensation structures in a process that involves the

senior executives who entered into, implemented, and enforced the No-Poach

Agreement.

         48.   While Geisinger and Evangelical sometimes engaged in negotiations

regarding compensation levels with individual Healthcare Workers, these

negotiations occurred from a starting point of the pre-existing and pre-determined

compensation level. The eventual compensation any particular Healthcare Worker

receives is either entirely determined by the preset level or is materially influenced

by it.


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      49.     Thus, if operating under competitive and lawful conditions, Geisinger

and Evangelical would have recruited and hired Healthcare Workers from each

other, driving the pay for all workers in those classifications up through the

mechanism of internal equity, in which employers endeavor to maintain parity

within the organization among workers of similar job categories, or to maintain

relative compensation relationships across job categories. Geisinger and

Evangelical both understood this during the Class Period and avoided paying their

Healthcare Workers more by entering into the No-Poach Agreement and by

agreeing not to compete for employees.

      F.      Geisinger and Evangelical Have a History of Coordination
      50.     Defendants have a history of choosing when to compete with each

other, which has deepened coordination at the expense of competition.

Specifically, Geisinger and Evangelical have historically cooperated and sought

out                                at the expense of competition and their

employees                      CEO described in an interview discussing

Geisinge               partial acquisition of Evangelical

           called co-opetition. And you can cooperate, and you can compete. And as

long as both sides find w                      Compl. ¶ 27. Such statements

epitomize how these close competitors have behaved in the past: they have

coordinated their activities



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Geisinger                                           have been on the losing end of

this bargain as the No-Poach Agreement has suppressed competition for their labor

as well as their pay.

      51.    Furthermore, Evangelical has publicly stated that it already has

cooperative relationships with Geisinger, which suggests that they have exchanged

competitively sensitive information. In fact, as DOJ alleges in its Complaint, which

is based on documentary evidence produced to the DOJ, Defendants have already

shared important competitive information as part of the proposed partial

acquisition that the DOJ seeks to enjoin. See DOJ Compl. ¶ 38. For example,




joint ventures. Id.

      52.    The history and prevalence of the coordination between Geisinger and

Evangelical suggests that the No-Poach Agreement goes back many years.

Moreover, there may have been other, similar agreements in light of Geisinger

        of acquiring community hospitals in Pennsylvania. As alleged above,

Geisinger acquired six hospitals in Pennsylvania from 2012 to 2017. Shamokin,

Jersey Shore, and Bloomsburg           of the four hospitals that Geisinger owns in

Central Pennsylvania         formerly independent hospitals and two of those

hospitals were the subject of previous antitrust challenges by the government.


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      53.       Geisinger and Evangelical



strategic growth options. DOJ Compl. ¶ 41. These meetings provided opportunities

to discuss, enter into, and enforce the No-Poach Agreement.

      54.       The DOJ Complaint also notes as further evidence of cooperation the

fact that Geisinger shared confidential information with Evangelical, including the

terms of a physician loan forgiveness agreement, which Geisinger uses as an

important tool to recruit physicians. DOJ Compl. ¶ 41. Such information sharing is

further evidence of the Defendants acting as conspirators and cooperators, rather

than as competitors for the services of Healthcare Workers.

      55.       Based on the foregoing facts, and others as more fully set forth in the

DOJ Complaint, the DOJ

              because it will substantially lessen competition and lead to even more

collusion between the entities in the future.

      G.        Geisinger and Evangelical                 Agreement
      56.       While Geisinger and Evangelical are purportedly close competitors in

Central Pennsylvania, they often coordinated their conduct to their collective

benefit

             served as a purported justification for anticompetitive behavior (see,

supra, ¶ 50).                     of coordination, which only benefit themselves,



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reinforce their collective dominant position for inpatient general acute services in

Central Pennsylvania as well as provide an unfair advantage to them by artificially

reducing the amounts that each system has to pay its employees through their No-

Poach Agreement.

      57.     With a backdrop of the cooperative relationship between supposed



      Agreement                                               Healthcare Workers.

They reached this understanding orally, which various emails confirm. For

example, the DOJ alleges that after learning that Geisinger was using Facebook to

recruit Evangelical nurses

            stating,           please ask that this stop[?] Very counter to what we

are trying to accomplis      DOJ Compl. ¶ 42. The Geisinger senior executive

forwarded the email

                                                                          Id.

      58.     The foregoing exchange also demonstrates that Geisinger and

Evangelical monitored their No-Poach Agreement, thereby ensuring that it would

be effective and have its desired impact: lessening competition in the market for

Healthcare Workers. Moreover, the DOJ Complaint suggests that DOJ has further

documentary evidence of the unlawful No-Poach agreement and other conduct

suggesting coordination between the purported competitors.


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      59.                                                           various forms

and comes at the expense of greater competition for Healthcare Workers.

Geisinger and Evangelic               executives even

            to the No-Poach Agreement and have pointed out deviations to enforce

compliance therewith. Geisinger                         No-Poach Agreement

effectively and illegally insulated their organizations from competition for

Healthcare Workers.

      H.      Geisinger and Evangelical Concealed the No-Poach Agreement
              from the Public and the Proposed Class
      60.     Geisinger and Evangelical actively concealed their illegal No-Poach

Agreement from the public and the proposed Class. As alleged above, it was the

practice of both Defendants to advertise that they had

not to disclose the existence of the No-Poach Agreement to their Healthcare

Workers or to the public. As further alleged above, however, Defendants would

monitor and en

      61.     Additionally, when                                       attempted to

apply to the other Defendant, executives at both organizations often engaged in

secret back-channel communications concerning the applicant as a means of

enforcing and abiding by the No-Poach Agreement

             Further, Geisinger and Evangelical entered into the No-Poach

Agreement orally (the existence of which various emails confirm), affirmatively


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avoiding memorializing the Agreement in a written agreement despite its broad

application and multi-year duration, opting instead to train new executives about

the Agre                                       basis. The reason for this practice

was to avoid alerting the public and the proposed Class of the No-Poach

Agreement                                                           litigation, and to

perpetuate the Agre

      62.   But for information made public in the DOJ Complaint, Plaintiff

would have remained unaware that the No-Poach Agreement existed. Because of

the secrecy of the No-Poach Agreement and Geisinger                                of

concealment, Plaintiff and the Class did not and could not have known before

August 5, 2020, when the DOJ filed the Complaint against Geisinger and

Evangelical, that Geisinger and Evangelical were engaged in an illegal conspiracy

to suppress Healthcare Worker wages by restraining recruitment and hiring of one

                      Workers. Further, the secrecy of the No-Poach Agreement

                                      would have thwarted any reasonable effort to

discover the No-Poach Agreement before that date.

V.    CLASS ACTION ALLEGATIONS
      63.   Plaintiff brings this action on behalf of herself and all others similarly

situated pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3).

The Class is defined as:



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      All natural persons who worked at Geisinger Health or Evangelical
      Community Hospital as Healthcare Workers from May 2015 through
      such time as De          anticompetitive conduct ceased


      Excluded from the Class are members of
      directors,             senior executives who entered into and/or
      enforced the No-Poach Agreement, and any and all judges assigned to
      hear or adjudicate any aspect of this litigation and their judicial staff.

      64.    Plaintiffs do not yet know the exact size of the Class because such

information is in the exclusive control of Geisinger and Evangelical. Based upon

publically available information, there are at least thousands of Class members.

Joinder of all members of the Class is therefore impracticable.

      65.    Class members are easily ascertainable based on, among other things,

the employment records of the Defendants.

      66.    There are many questions of law and fact common to the Class as a

whole, including:

             (a)    Whether, when, and how Geisinger and Evangelical entered

      into the No-Poach Agreement;

             (b)    Whether Geisinger and Evangelical concealed the existence of

      the No-Poach Agreement from Plaintiff and the members of the Class;

             (c)    Whether Geisinger a                      conduct violated

      Section 1 of the Sherman Act;

             (d)    Whether the No-Poach Agreement is a per se violation of the


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         Sherman Act;

                (e)   Whether Geisinger and Evangelical violated

                Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-

         9.3;

                (f)   Whether the No-Poach Agreement restrained trade, commerce,

         or competition for Healthcare Workers between Geisinger and Evangelical;

                (g)   Whether Plaintiff and the Class have suffered antitrust injury;

         and

                (h)   the appropriate measure of damages.

         67.    These and other questions of law and fact are common to the Class

and predominate over any questions affecting only individual members of the

Class.

         68.    Plaintiff claims are typical of the claims of the Class.

         69.    Plaintiff will fairly and adequately represent the interests of, and has

no conflicts of interest with, the Class.

         70.    Plaintiff has retained counsel experienced in antitrust and class action

litigation to represent herself and the Class.

         71.    This class action is superior to the alternatives, if any, for the fair and

efficient adjudication of this controversy. Prosecution as a class action will

eliminate the possibility of repetitive litigation. There will be no material difficulty


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in the management of this action as a class action. By contrast, prosecution of

separate actions by individual members of the Class would create the risk of

inconsistent or varying adjudications and be inefficient and burdensome to the

parties and the Court.

                            FIRST CLAIM FOR RELIEF
                    (Violation of the Sherman Act, 15 U.S.C. § 1)
      72.      Plaintiff realleges and incorporates by reference each of the averments

contained in the preceding paragraphs of this Complaint.

      73.      Geisinger and Evangelical entered into and engaged in the unlawful

horizontal No-Poach Agreement in restraint of trade and commerce, as described

above, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. The No-Poach

Agreement is a per se violation of Section 1 of the Sherman Act.

      74.      The acts done by Geisinger and Evangelical as part of, and in

furtherance of, their agreements, understandings, contracts, combinations, or

conspiracies were authorized, ordered, or done by their respective senior

executives while actively engaged in the management of

      75.      Defendants collectively possess monopsony power in the relevant

market. Through their No-Poach Agreement, Defendants harmed competition in

the relevant market.

      76.      The unlawful No-Poach Agreement had the following effects, among

others:


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             a.     Competition between Geisinger and Evangelical for Healthcare

      Workers was suppressed, restrained, or eliminated; and

             b.     Plaintiff and members of the Class have received lower

      compensation from Geisinger and Evangelical than they otherwise would

      have received in the absence of the No-Poach Agreement and, as a result,

      have been injured and have suffered damages in an amount according to

      proof at trial.

      77.                             Agreement had no procompetitive benefits or

justifications. The No-Poach Agreement provided no efficiencies or other benefits

that would offset the substantial competitive harms described above.

      78.

Agreement, members of the Class have suffered injury and have been deprived of

the benefits of free and fair competition for their labor on the merits.

      79.    Accordingly, Plaintiff and members of the Class seek three times their

damages caused by                 violation of Section 1 of the Sherman Act, the

costs of b                                                     relief, and a

declaration that such agreement is unlawful.

                         SECOND CLAIM FOR RELIEF
(Violation of
                          Law, 73 P.S. §§ 201-1-201-9.3)
      80.    Plaintiff realleges and incorporates by reference each of the factual



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averments contained in the preceding paragraphs of this Complaint.

         81.   Geisinger and Evangelical engaged in unfair methods of competition

and unfair acts and practices in the conduct of trade or commerce described above

in violation of P.S. §§ 201-1-201-9.3.

         82.   Specifically, Geisinger and Evangelical engaged in the deceptive

practi

         eac                                                       for them and

their pay.

         83.               No-Poach Agreement had the purpose and effect of: (a)

substantially eliminating competition between Geisinger and Evangelical for

Healthcare Workers in Central Pennsylvania, and (b) artificially suppressing the

compensation of Plaintiff and the Class to levels below those that would be present

in a competitive market.

         84.   As a direct and proximate result of

         Agreement, Plaintiff and members of the Class have suffered injury and

have been deprived of the benefits of free and fair competition on the merits.

         85.   The unfair, deceptive, and unlawful No-Poach Agreement had the

following effects, among others:

               (a)   Competition between Geisinger and Evangelical for Healthcare

         Workers was suppressed, restrained, or eliminated; and


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              (b)   Plaintiff and members of the Class have received lower

      compensation from Geisinger and Evangelical than they otherwise would

      have received in the absence of the No-Poach Agreement and, as a result,

      have been injured and have suffered damages in an amount according to

      proof at trial.

      86.     The acts done by Geisinger and Evangelical as part of, and in

furtherance of, their contracts, combinations, or conspiracies were authorized,

ordered, or done by their respective senior executives while actively engaged in the

management of Defendants affairs.

      87.     The No-Poach Agreement is a violation of 73 P.S. §§ 201-1-201-9.3.

      88.     Accordingly, Plaintiff and members of the Class seek their damages

caused by D              violation of 73 P.S. §§ 201-1-201-9.3, the costs of bringing

                            fees, injunctive relief, and a declaration that such

agreement is unlawful.

VI.   PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that this Court enter judgment on her behalf

and that of the Class by adjudging and decreeing that:

      A.      This action may be maintained as a class action, with Plaintiff as the

designated Class representative and her counsel as Class counsel;




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        B.   Defendants engaged in a trust, contract, combination, or conspiracy in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and

Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-9.3,

and that Plaintiff and the members of the Class have been damaged and injured in

their business as a result of this violation;

        C.   The alleged conduct be adjudged and decreed to be a per se violation

of Section 1 of the Sherman Act, 15 U.S.C. § 1, or in the alternative, a violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1, under the rule of reason;

        D.   The alleged conduct be adjudged and decreed to be a violation of

                 Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§

201-1-201-9.3;

        E.   Plaintiff and the members of the Class recover threefold the damages

determined to have been sustained by them as a result of the conduct of Geisinger

and Evangelical complained of herein and that judgment be entered against

Geisinger and Evangelical for the amount so determined;

        F.   Judgment be entered against Geisinger and Evangelical in favor of

Plaintiff and each member of the Class, for restitution and disgorgement of ill-

gotten gains as allowed by law and equity as determined to have been sustained by

them;

        G.   For prejudgment and post-judgment interest;


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      H.       For equitable relief, including a judicial determination of the rights

and responsibilities of the parties;

      I.

      J.       For costs of suit; and

      K.       For such other and further relief as the Court may deem just and

proper.




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VII. JURY DEMAND
       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a jury

trial for all claims and issues so triable.

Dated: February 12, 2021                  /s/ Ira Neil Richards___________




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